Case 2:99-cr-20008-.]PI\/| Document 74 Filed 06/21/05 Page 1 of 2 Page|D 58

UNITED STATES DISTRICT COURT
Western District of Tennessee

Thccmns H. Gould llemphil 901-495-1200
Clerk of Court Fa:ll. 901-
495-1250
Jnck¢on 731-421-9200
rex 731-731-9210

DATE: June 21, 2005

NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 99-20008
UNITED STATES OF AMERICA vs. JEFFREY HOUSTON

RULE 20 (Consent to Transfer of Cese for Plea and
Sentence)

XX RULE 40 TRANSFER

Follcwing documents received from USDC for the EASTERN DISTRICT OF
ARKANSAS(Little Rock) (1)Werrant for Arrest (2)Minutes: First Appearance
(3)SEALED document(Finencial Document) (4)Order Appointing Counsel(§)WIvIER
OF RULE 32.1 HEARINGS (S)Order Setting Conditions of Releese (7)NOTICE

of Initiel Appearence Please refer to document #72 in the case record.

Sincerely,

 

 

cc: Mag. Judge Cese Mgr.

 

242 Federal Building 101 Federal Building
167 North Main Street 109 South Highland Awenue
Memphis, Tennessee 38103 Jackson, Tennessee 38301

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:99-CR-20008 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

